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                                         UNPUBLISHED

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                         No. 13-4403


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                    v.

        TERRANCE LAMAR WIGGINS, a/k/a T-Wig, a/k/a Barnwell,

                          Defendant - Appellant.



        Appeal from the United States District Court for the District of
        South Carolina, at Aiken. Margaret B. Seymour, Senior District
        Judge. (1:12-cr-00333-MBS-1)


        Submitted:    June 30, 2014                       Decided:     July 15, 2014


        Before WYNN and       THACKER,    Circuit   Judges,    and     DAVIS,   Senior
        Circuit Judge.


        Affirmed by unpublished per curiam opinion.


        John M. Ervin, III, ERVIN LAW OFFICE, Darlington, South
        Carolina, for Appellant.     Julius Ness Richardson, Assistant
        United States Attorney, Columbia, South Carolina, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

                    Terrance         Lamar    Wiggins       was    convicted,     after      a    jury

        trial, of one count of conspiracy to possess with intent to

        distribute and to distribute five kilograms or more of cocaine,

        in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), 846 (2012),

        one count of possession of a firearm in furtherance of a drug

        trafficking crime, in violation of 18 U.S.C. § 924(c) (2012),

        and one count of felon in possession of firearms and ammunition,

        in violation of 18 U.S.C. § 922(g) (2012).                        The district court

        sentenced Wiggins to life imprisonment on the conspiracy count,

        120   months     on    the    felon    in     possession      count,      to    be    served

        concurrently,         and    sixty    months        consecutive    on     the     § 924(c)

        count.      On    appeal,      counsel        has    filed    a   brief    pursuant        to

        Anders v. California, 386 U.S. 738 (1967), stating that there

        are no meritorious issues for appeal, but questioning whether

        the   district        court    erred     in       denying    Wiggins’s         motion     for

        judgment    of    acquittal      on     the       § 924(c)    count.       Wiggins        was

        advised of his right to file a pro se supplemental brief, but

        has not filed a brief.           The Government declined to file a brief.

                    This court reviews de novo the district court’s denial

        of a Rule 29 motion.            United States v. Jaensch, 665 F.3d 83, 93

        (4th Cir. 2011).            “If there is substantial evidence to support

        the   verdict,        after    viewing        all     of    the   evidence        and     the

        inferences       therefrom      in     the     light       most   favorable          to   the

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        Government,      the       court       must    affirm.”        United       States       v.

        Penniegraft,     641       F.3d       566,    572   (4th    Cir.   2011)      (internal

        quotation     marks        omitted).           “Substantial    evidence        is    that

        evidence     which     a   reasonable         finder   of   fact   could     accept      as

        adequate and sufficient to support a conclusion of a defendant’s

        guilt beyond a reasonable doubt.”                    United States v. Al Sabahi,

        719   F.3d   305,    311       (4th   Cir.    2013)    (internal   quotation        marks

        omitted), cert. denied, 134 S. Ct. 464 (2013).                        The court does

        not “review the credibility of the witnesses and assume[s] that

        the jury resolved all contradictions in the testimony in favor

        of the government.”             United States v. Foster, 507 F.3d 233, 245

        (4th Cir. 2007).

                     In order to prove the § 924(c) violation charged in

        the indictment, the Government was required to establish that:

        (1) Wiggins possessed a firearm, and (2) “that the possession

        . . . furthered, advanced, or helped forward a drug trafficking

        crime.”      United States v. Lomax, 293 F.3d 701, 705 (4th Cir.

        2002).     “[T]here are many factors that might lead a fact finder

        to    conclude   that      a    connection        existed   between   a    defendant’s

        possession of a firearm and his drug trafficking activity.”                             Id.

        These include the “type of drug activity . . . being conducted,

        accessibility of the firearm, the type of weapon, whether the

        weapon is stolen, the status of the possession (legitimate or

        illegal), whether the gun is loaded, proximity to drugs or drug

                                                      3
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        profits, and the time and circumstances under which the gun is

        found.”    Id. (internal quotation marks omitted).             Our review of

        the record leads us to conclude that the evidence was sufficient

        to sustain the jury’s verdict and the district court did not err

        in denying Wiggins’s motion for judgment of acquittal.

                    In accordance with Anders, we have reviewed the entire

        record in this case and have found no meritorious issues for

        appeal.    We therefore affirm Wiggins’s convictions and sentence.

        This court requires that counsel inform Wiggins, in writing, of

        the right to petition the Supreme Court of the United States for

        further review.        If Wiggins requests that a petition be filed,

        but counsel believes that such a petition would be frivolous,

        then counsel may move in this court for leave to withdraw from

        representation.     Counsel’s motion must state that a copy thereof

        was served on Wiggins.

                    We dispense with oral argument because the facts and

        legal    contentions     are   adequately   presented    in    the   materials

        before    this   court   and   argument   would   not   aid   the    decisional

        process.

                                                                               AFFIRMED




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